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AO 91(Rev.0s/09) CriminalComplaint

                                    U NITED STATES D lsTRlcT COURT
                                                                  forthe
                                                Southern DistrictofFlorida

                    United StatesofAmerica                          )
                               V.                                   )
                         Kerby Brown,Jr.
                                                                    ) casexo.lgoj tqtxjs-fpoq
                                                                    )
                                                                    )

                                                 CRIM INAL COM PLAINT

         1,thecomplainantinthiscase.statethatthefollowing istrueto thebestofmyknowledgeand belief.
Onoraboutthedatets)of N-  .pyz4p.
                                s201.8toMay23,2019 inthecountyof
                                    .                                                                omFpqj. -- ..inthe
                                                                                                     w


   southern    Districtof        F10rt4#      .t
                                               hedefendantts)violated:
                                                 .- ..- .. -. -



            Codes'
                 eclf/z;                                                    OffenseDescription
18USC jj1591(a)(1)and1594.                   Recrui
                                                  t,Entice,Harbor,Transport,orAdvedisea M inorVictim to Engage in
                                             Com mercialSexActs,andAttem ptforMinorVictim to Engage inCom mercial
                                             Sex Acts.




         Thiscriminalcomplaintisbased on thesefacts:
          SEE ATTACHED AFFIDAVIT.




         W Continuedontheattachedsheet.
                                                                                                                    *



                                                                                         .o       lnant   ' ature

                                                                                        SA Josep-h- oliver,FBl          --   - .

                                                                                         Printedll
                                                                                                 tz/rleandtitle

Swon)tobefore meand signed inmy presence.


Date:                % é?ké?9.
        ..- - . - -- .       ?p.---.--
                                                                                              Judge'ssîgttature

City and state:                  FortLauderdale,.g gri
                                                     O -----.
                                                            ---..          -.- - Paqi
                                                                                    çy-M.Hunt,U.@aMaqi
                                                                                                     stratqputtg-
                                                                                                                q----.--
                                                                                         Printed nameattdtitle
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                    AFFIDA W T IN SU PPO RT OF CR IM INA L C OM PLA INT

           1,Joseph R.Oliver,having been duly sworn,hereby depose and state:

                                          BA CK G RO UN D

                  Iam aSpecialAgent(%:SA'')withtheFederalBureau oflnvestigation (ç1FBl'')
    United StatesDepartmentofJustice(û1DOJ''),currently assigned to the Child Exploitation and
    Human Trafficking TaskForceoftheFBI'sM iamiDivision.M y dutiesinvolvetheinvestigation

    of a variety of violations of federal crim inalIaw involving the sexual exploitation of children,

    including the com m ercialsex trafficking ofm inors. Ihave been an FBI SA since August2016.

    Priorto m y em ploym entwith the FBI,lworked as a Police Officerand Crim esA gainstChildren

    Detective with the Lexington Police D epartm entin K entucky from A ugust2012 to August2016

    where lresponded to and investigated cases involving violentcrim es againstchildren.

           2.     1am a law entbrcem entotlicerw ithin them eaning of-ritle 18,U nited StatesCode,

    Section2510(7.
                 ),andlam empoweredbylaw tocondtlctinvestigations,executeandservesearch
    warrants,dnd makearrestsfbroffensesenum erated in Title 18ofthe UnitesStatesCode,and for

    offensesagainsttheU nited States.

                  'rhisaffidavitism adein supportofprobablecauseforthearrestofK erbyBROW N,

    Jr.forviolationsofrecruiting,enticing,harboring,transporting,oradvertising aminorvictim to

    engage in comm ercialsex acts,and attem ptfora m inorvictim to engage in com m ercialsex acts,

    inviolationof18U.S.C.jj1591(a)(1)and l594. Sincethisaffidavitisbeing submittedforthe
    lim ited purpose of dem onstrating probable cause in supportof the crim inal com plaint against

    BRO W N,1havenotincluded each and every factknow n by m econcem ing thisinvestigation,and

    haveincluded only those factsand circum stancesthat1believe are sufficientto establish probable
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       cause for the issuance ofthe requested crim inalcom plaintand arrest warrant. The inform ation

       contained in thisaffdavitisbased upon m y personalknow ledgeand observations, m ytraining and

       experience,and infonuation obtained from otherlaw enforcem entofticers and witnesses. l

                                            PRO BA BLE CAU SE

              4.     This affidavitconcerns three minor victims recruited by Kerby BROW N , Jr.

       (;'BRO5VN'') to engage in commercialsex acts. As fbrther demonstrated below,BROW N
       recruited,enticed,orotherwiseprovidedtransportationforM IN OR VICTIM 1, M IN OR VICTIM

       2,andM INOR VICTIM 3 to engagein sexualactivities,orattempted sexualactivities,

                                              M inor V ictim 1

                     OnNovember24,2018,theHollywoodPoliceDepartment('%HPD'')respondedto
       theRnmadahoteltiçlkamada''llocatedat1925HanisonStreetin Hollywood,FL inreferenceto
       childprostitution.Uponarrival,HPD madecontactwitha l4-year-oldCMINOR VICTIM 1'').
       M IN OR VICTIM 1 disclosed thatshew aswith BROW N ata hotelparty and BROW N attem pted

       to recruitherto postonlinecom m ercialsex advertisem entson the website wrw w.listcraw lencom .z

       Even though M IN OR VICTIM l told BROW N she w as not interested, an advertisem ent was

       posted online advertising M IN OR VlC'
                                            1-IM l to engage in com m ercial sex activities. The

       advertisem entw asseen by M INOR V ICTIM 1's friend,and the friend and friend's m otherthen



   '



       lBROMCN wasindicted on June ll, 20l9. See 19-cr-60156-AHS. On January 29,2019)United States
       DistrictCoul'
                   tJudge Raag Singhal entered an Order in open court dismissing the indictmentwithout
    prejudice.
    2Y ourA ftiant,through training and experience,isawarethatwvvw.listcrawler.com isawebsitethatis
    often used to advertise orothenvise promote prostitution.
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    contacted the HPD,w ho responded to the Rnm adathatevening.3

                    Upon the com pletion ofher interview ,M IN OR V ICTIM l,w ho had previously

    been listed asa m issing person outofFortLauderdale,Florida.wasreleased to the custody ofher

    grandm other.

                    HPD officers also interviewed BROW N , w ho was on scene at the Ram ada.

    BRO WW denied any involvem entin prostitution and wasreleased thatevening.

           8.       On February 1,2019,yourAffiantand a Task Force Officer(1iTFO'')with HPD
    conducted a separate interview ofM INO R VICTIM 1. M IN OR V ICTIM 1 stated she ran away

    from hom e and through a friend w as introduced to BROW N and his group,and soon thereafter

    wentwith BROW N to the Ram ada. BROW N had reserved room s//502 and #503 atthe Ram ada.

    According to M IN OR VICTIM 1,Room #502 w as used forprostituting three to fouradultgirls.

    M IN OR V ICTIM 1 stated that she stayed in Room #503 for approxim ately three days w ith

    BROW N.

                    Law enforcem ent has obtained hotel records from the Ram ada. The records

    confirm thatBROW N reservedrooms#502and#503onNovember22,2018,andfrom November

    23-24,he reselwed only room #502.

                    According to M IN O R VICTIM l,while atthe Ram ada,BROW N asked M INOR

    V ICTIM 1 ifshew anted to m ake fastcash. He explained she could send picturesto men orhave

    the m en com e to the room ,butnothave sex with them . BRO W N inform ed M IN OR V ICTIM 1

    shecouldmakemoneybyjustgettingnakedforthemen,givingthem massages,orsatisfyingtheir


    3Asofthe dateofthisAffidavit, Iaw enlbrcementhasnotbeen able to locatethe advertiselnentposted of
    M INO R V ICTIM 1.
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    tktishessuch asfootfetishes. BROW N also asked M IN OR V ICTIM lifshe wanted to postonline

    advertisem ents for the purpose of comm ercial sex like the adult prostitutes did. The adult

    prostituteswereexpectedtomakeBROW N approximately$100perhour.BROMJN wouldcollect
    a1lthe m oney and give the girls aportion ofthe proceeds.

                  In addition, M INOR V ICTIM 1 stated thatBRO W N had M IN OR V ICTIM 1

    follow theadultgirlsaround whilethey were conducting streetprostitution to m ake surethey w ere

    w orking and m aking m oney. BROW N m ade M IN OR VICTIM 1 turn on the GPS on herphone

    so that BROW N could track the girls' m ovem ents. On one occasion, M IN OR VICTIM 1

    witnessed BROW N chokeand hitoneoftheadultgirlsbecause shedid n0tmakeenough money

    forBROW N .

                  Despite BROW N 'S efforts,M W OR V ICTIM 1 denied thatshe ever engaged in

    com m ercialsex acts.

                  M m OR VICTIM 1 provided to law entbrcem ent an Instagram account,

    tûtray- cinco,''which belonged to BROGJN 'S fiiend w ho was also presentatthe Ram ada during

    M IN OR V IC'1'
                  IM 1's stay. M IN OR V ICTIM 1 was friends w ith i'trays'' the user of the

    çktray cinco''account,and itwastttray''who introduced herto BRO W N . M IN OR VICTIM 1was

    show n aphotograph from thelttray cinco''accountthatdepicted three m ales. Upon review ingthe

    photograph,M IN OR VICTIM l positively identified the m ale on the farrightofthe photograph

    as BROW N .

                  M IN OR V ICTIM 1provided verbaland written ctm sentforyourAffantto search

    hercellphone and have itforensically im aged. W ithin the phone law ent-
                                                                           orcem entfound a sclfie-

    style photograph w ith date-stamp N ovem ber 20, 2018 of M IN OR VICTIM 1 and BROW N


                                                  4
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    togetherin whatappearsto bea hotelroom .Law enforcem entalso found photographsofM IN OR

    VICTIM 1attheRamadahotelandtheHollywood Gateway lnn (ûtGatewaf')where MINOR
    V ICTIM 1 wentwith BRO W N.

                                             M inor Victim 2

                   On February 25,2019,a ls-year-old (IGM INOR VICTIM 2') was taken into
    custody fora pickup orderoutofBroward County by the Aventura Police Departm ent. M IN OR

    VICTIM 2disclosedbeingthevictim ofhtlmantraftsckingbyasubjectknowntoherast.K.J.''
            16.    On M arch 4,2019,yourA ftsantconducted an interview of M IN OR VICTIM 2.

    M IN OR V ICTIM 2 disclosed sheran away from hom earound the end ofJanuary2019. W hile on

    the road,M INO R V ICTIM 2 becam e tired of hopping from house to house,and she was then

    introduced by her friend to som eone nam ed K.J.via social m edia. K .J. m essaged M INOR

    VICTIM 2 on lnstagram and arranged to pick herup. M INO R V ICTIM 2 stated K .J.'Slnstagrnm

    account in which he directm essaged her was kçlilslattdagod.'' M IN OR V ICTIM 2 stated that

    çtlilslattdagod''had a girlfriend'
                                     .identified in thisAffidavitas VICTIM 3.4

                   M IN O R V ICTIM 2 consented to a search ofherphoneby 1aw enforcem ent.W ithin

    herphone aretwo screenshotssaved by M IN OR V lCT1542 ofa conversation betw een herselfand

    BROW N, w ho utilized the Instagram account usernalne t'lilslattdagod.'' Specifically, the

    screenshotsfrom herphone revealthe follow ing:

           Lilslattdagod:W atsyantlm ber?
           M INO R V ICTIM 2:l'm otp wassup tho *
           Lilslattdagod:lmacomegetl'ou way
           M m O R V ICTIM 2:Idek you;

    4V ICTIM 3's date ofbirth isJanuary 13, 2001.

    5In yourAftsant'straining and experience, ttidek''isshortfor%-lDon'tEven Know''y'ou.
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           Lilslattdagod:Ikno butlw ouldn'twantyou outside it'scold outhere and lknow Shay
           MINOR VICTIM 2:IneedaplacetostaythoIcan'tjustgooutndcomebackoutside
           Lilslattdajod:NahlgotchudeadassIbookhotelroomsShaytoldmeboutyoualready
           and yoursltuation lw antto help
           Lilslattdagod:Callm e it's Phone 9412423370
           M IN O R VICTIM 2:Can 1FaceTim e you?
           Lilslattdagod:Yea
           M INOR V ICTIM 2:1m a callm
           Lilslattdagod:Okay

           18.    Afterpicking up M m O R V ICTIM 2,she and K .J.hung outforapproxim ately one

    weekattheM otel6on StateRoad 84 in FortLauderdale,FL.At-
                                                           terthe firstweek,K.J.,M INOR

    V ICTIM 2,VICTIM 3,and others wentto Orlando,FL. W hen they anived in Orlando,K .J.told

    M IN OR VICTIM 2 he needed herto m ake m oney to help pay for the hotelsand carrentals. ln

    orderto makehim money,K.J.wantedM INOR VICTIM 2togetafakeID,soshecould dancein

    the clubs like the other girls w ho were strippers. Further,K .J.took naked pictures of M INOR

    V ICTIM 2 to be used as advertisem ents forsex.

           19.    ln response to the online advertisem ents,people would text K .J.and he would

    choose the person w'ho would pay the m ost. K .J.would drive M IN OR V ICTIM 2 to the ç-lohn's'-

    houses.MINOR VICTIM 2wenttoapproximatclysix (6)houseswhileinOrlando.K.J.would
    rem ain outside the houseswhile M IN OR V ICTIM 2 wasinside. M IN O R V ICTIM 2 w ould stall

    inside,buteventually do w'
                             hatever the m en wanted her to do. She contirm ed thatthe m en had

    vaginaland oralsex w ith her.

           20.    The ''John's''would give M IN OR V ICTIM 2 the m oney before sex. The -tdates''

    would lastapproxim ately 10 m inutesand usually occurred betw een 9:00 p.ln.and 5:00 a.m .

    the beginning,M IN OR V ICTIM 2 splitthe m oney 50/50 w ith K .J.,buteventually K.J.took all

    the m oney afterthe t6dates.'' K .J.also provided M IN OR V ICTIM 2 with drugssuch asû'm olly,''
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    éé
     percs,', $4zans,1* and (tc-class.,!
                     On their way back to Fort Lauderdale fiom Orlando, the group stopped at

    approxim ately 3-4 housesforM INOR V ICTIM 2 to engage in comm ercialsex acts. W hen they

    arrived back in Fo14 Lauderdale,they returned to the M otel6. W hile atthe M otel6,M W OR

    VICTIM 2 had approxim ately 6-9 çtdates.''
            22.      M IN OR V ICTIM 2 separated from K .J.afterK .J.fled from the policein Opalocka,

    Florida.Following theirseparation,K.J.keptcalling and texting M IN OR V ICTIM 2 and told her,

    w'W henwecatch you,youknow what'sup.''M INOR VICTIM 2viewedthisasathreattoherlitk

    due to herpreviously witnessing K .J.bcatpeople up during streetfights.

                     M IN OR V ICTIM 2 was shown the sam e lnstagram photograph as M IN OR

    VICTIM 1 of threc m ales, which was posted on lnstagram account, tûtray cinco.'' M INOR
    VICTIM 2positivelyidentifiedK.J.astheindividtlalon thefarrightofthephotograph,who was

    previously identified by M INOR VICTIM 1asBROW N.
             24.      M IN OR V ICTIM 2 provided verbaland w ritten consentforyourAftiantto search

    hercellphone and have itforensically im aged. The search of herphone later revealed M INO R

    VICTIM 2 had textmessagecorrespondence with severalpeopleaboutherhaving to engage in

     com m ercialsex actsatthe direction ofK .J.,orhisaliasGsslim e.''

             25.      M IN OR V ICTIM 2's phone also included two screenshots of a conversation

     between herselfand phonenumber(941)242-3370,which isthephone numberthatBROW N,
     usinglnstagram usemam el'lilslattdagod,''told hertocallhim on.Theconversation states:

             (941)242-3370:Exactly Igethotelroomsfor20 dollarsthatain'tnun so you ain'tgotta
             runaroundjustgotoschoolandtheroom that'sit
             MINOR VICTIM 2:ljustpeeped
              M IN OR VICTIM 2:l'm trippin
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           (941)242-3370:V V
           M IN O R V ICTIM 2:This noteven the person lthoughtitwas l'm overhere like whatis
           hetalking about
           (941)242-3370:Doyouknow whothisisnow?
           M INO R V ICTIM 2:Yeah 1do
           (941)242-3370:Okaysowhenyouwanttojetpickedup
           M W O R V ICTIM 2:Shay hassome m ore ofm y stuffn she'satschoolrn
           (941)242-3370:W ecouldcomebackandgetit
           M INOR VICTIM 2:Igo to schoolfartho
           (941)242-3370:Flanaganhighright?
           M INOR VICTIM 2:NoIswitchedIgotoFortLauderdalehighC
           (941)242-3370:That'srighthere1stayinLauderdaleV V V V
           M IN OR V ICTIM 2:G ? That'sgod
           M W OR VICTIM 2:G ood*
           (941)242-3370:Lolwhereyouthoughtlstayed?
                  Aftertheinterview,yourAftiantlocatedapproximatelynine(9)onlinecomlnercial
    sex advertisem ents of M IN OR VICTIM 2,in which she appears naked orin otherw ise sexually

    explicitpositions and is advertised to engage in com m ercialsex acts. 'l'he advertisem ents were

    posted on thewebsitewww.listcrawler.com between February 1,2019 and February 5,2019 for

    the cities of Orlando, M iam i, and Fort Lauderdale, FL. M IN OR VICTIM 2 stated that the

    advertisements were posted by k;K.J.'',i*e.BROW N . lf a potentialtûlohn''w as interested in the

    advertisem entthe phone num berposted on the advertisem ents was 941-242-3370,which is the

    phone num ber that BRO W N instructed M IN OR V ICTIM 2 to callhim on during their first

    Conversation On lnstagram .

                  On April18,2019,a search warrantwas signed by United StatesM agistrate Judge

    Barry L.Seltzer authorizing 1aw enforcem cntto search and seize BROW N 'S lnstagram account,

    'tlilslattdagodr''in which he comm unicated with M INO R V ICTIM 2.See 19-M J-6184-BLS. Your

    Aftianthas reviewed the accountlililslattdagod,''and can conlinn thatmultiple photographs and

    videos depictBROW N and itappears thatBROW N is the userofthe account. The records also

                                                   8
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    dem onstrate thatBRO W N initially recruited M IN OR V ICTIM 2 to m eetw ith him and directed

    herto then speak to him using the phonenumber,(941)242-3370. Aspreviously stated,that
    phone num ber wasthen listed as the contactinfonnation forthe com m ercialsex advertisem ents

    featuring M IN OR V ICTIM 2 posted on w ww .listcraw ler.com .

           28.    W ithin the lnstagram account,your Affiant has also folmd messages between

    BRO W N and another fem ale who identifies herself as a m inor. BROW N rem inded the m inor

    fem ale that the two had m et at the ttGatew ay,''which your A ffiant understands to m ean the

    Gateway hotel:a location where BROW N also took M INO R VICTIM 1.BROW N tellsthe m inor

    fem ale that she could begin stripping even though she identifies herself as under 18 because

    BRO W N kmowspeople.

           29.    Further,on multiple occasions BROW N ,tluough Instagrnm ,sends m essages to

    otherindividualsidentifyinghisphonenumberas(941)242-3370.
                                              M inor V ictim 3

                  On M ay 23, 2019, law enforcem cnt found a sex related advertisem ent on

    wuav.listcraw ler.com for VICTIM 3 the individual identified by M IN OR VICTIM 2 as

    BROWN'Sgirlfriend. ln acontrolled operation,an undercoverofficer(ç1UC'')with the HPD
    contacted VICTIM 3toscheduleadate atthe LaQuintahotelin Hollywood,FL. VICTIM 3
    anived to the La Quinta atapproximately 7:14 pm. She arrived asthepassengerin a Silvcr
    Chrysler300. The Cilryslerwasdriven by BROW N ,and M IN OR VICTJM 3,age 17,wasin the

    backseatofthe vehicle. M INOR V ICTIM 3's possession included a purse thathad only a cell

    phone and condom s,

           31.    In addition, 1aw enforcem ent fotlnd sex-related advertisem ents posted on List
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    Craw ler on M ay 23,2019 featuring M INO R VICTIM 3. Law enforcem entreview ed M IN OR

    VICTIM 3's phone that included an audio recording that M INOR V ICTIM 3 had taken that

    includesBROW N stating:iibutbnlh asm tlch pim ping asIdid bruh,l'veneverbeen in a situation

    wherelcan'tgetabitchtoworkright. Scausellikethebitchandknow whatthe(f1l'm doing
    bruh.'' M INOR VICTIM 3 told law enforcement thatshe had never posted a sex-related

    advertisementpriortojoiningdaysearlierwith BROWN andVICTIM 3. MINOR VICTIM 3
    statcd thatVICTIM 3 wanted to stop engaging in com m ercialsex actsand BRO W N told VICTIM

    3 thatV ICTIM 3 could only stop ifV ICTIM 3 recnlited others to take her place,atwhich time

    M TNOR VICTIM 3 wasapproachedto engagein comm ercialsex acts.

                                                C O NCLU SION
           37.    Based on the forgoing,1respectfully subm itthatthere isprobable cause to believe

    lhatthe defendant,Kerby BROW N ,Jr.,did recruit,entice,harbor,transport,oradvertise M FNOR

    VICTIM 2 to engage in com m ercialsex acts,and attempted forM IN OR VICTIM 1 and M IN OR

    VICTIM 3toengageincommercialsexacts,a11inviolationof18U.S.C.jj1591(a)(1)and 1594.
                                                                        '



           FURTHER Y O UR A FFIAN T SA YETH NAU G H T.

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                                                                            Jos        * , ec* gent
                                                                            FederalBurea o Investigation
    SubscriKdandswom tobeforeme
    thisz&Màyof n ary,2020.

    PATRICK h .HUNT              '
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                                       -.....         . .............




    UNITED STATES M A GISTR ATE JU DG E
    SO UTH ERN D IST RICT O F FLO RID A
